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                                                                                         FILED IN CLERK'S OFFICE
                                                                                            U.S.D.C. Newnan


                          UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                                                                          FEB 2 ^ 2025
                                  NEWNAN DIVISION                                                 _1
                                                                                                     ;IMER. Clerk
                                                                                        et.Wn Deputy Clerk

L. ROCHELLE BANKHEAD,
Plaintiff,

v.      Case                No.:            3:24-cv-0167




AMAZON.COM, INC.;
AMAZON INDIA PRIVATE LIMITED;
AMIT AGARWAL, CEO OF AMAZON INDIA,
Defendants.




PLAINTIFF'S MOTION TO CORRECT DOCKET

COMES NOW, Plaintiff, L. Rochelle Bankhead, pro se, and respectfully moves this Honorable

Court to correct the docket to accurately reflect the proper name of one of the Defendants. In

support of this motion. Plaintiff states as follows:


    1. Plaintiff initially filed this action naming "Amazon India Private Limited" as a

       Defendant.

   2. Plaintiff has since determined that the correct name of this Defendant is "Amazon Data

        Services India Private Limited."

    3. The case docket currently reflects the incorrect entity name, and this correction is

       necessary to ensure accuracy in court records and filmgs.

   4. This correction does not alter the substance of Plaintiff s claims and does not prejudice

       Defendants in any manner.

    5. Plaintiff respectfully requests that the Court direct the Clerk to correct the docket so that

       all references to "Amazon India Private Limited" are changed to "Amazon Data

        Services India Private Limited."


WHEREFORE,
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Plaintiff respectfully requests that this Court grant this Motion to Correct Docket and direct

the Clerk of Court to amend the docket to reflect the correct Defendant name as "Amazon Data

Services India Private Limited."


Respectfully submitted,




L. ROCHELLE BANKHEAD
65 Crescent Street

Newnan, GA 30265

678-789-8950

Plaintiff, pro se
